Case 2:12-cr-20083-JWL          Document 2321         Filed 05/26/16      Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                     CRIMINAL ACTION
                                            )                     No. 12-20083-16-KHV
v.                                          )
                                            )                     CIVIL ACTION
TRENT PERCIVAL,                             )                     No. 15-9310-KHV
                                            )
                         Defendant.         )
____________________________________________)

            MEMORANDUM AND ORDER AND ORDER TO SHOW CAUSE

       On April 28, 2015, the Court sentenced defendant to 120 months in prison. This matter is

before the Court on defendant’s Motion To Vacate, Set Aside, Or Correct Sentence / Petition For

Writ Of Habeas Corpus Pursuant To 28 U.S.C. § 2255 (Doc. #2095) filed October 9, 2015. For

reasons stated below, the Court sustains defendant’s motion and vacates his sentence.

       Defendant argues that at sentencing, the Court incorrectly applied the statutory minimum of

ten years in prison. In particular, defendant asserts that because he did not specifically admit that

he was personally accountable for the threshold amount of marijuana or cocaine under 21 U.S.C.

§ 841(b)(1)(A), the Court should have sentenced him under either 21 U.S.C. § 841(b)(1)(C) or (D),

which do not include any statutory minimum. In Alleyne v. United States, 133 S. Ct. 2151 (2013),

the Supreme Court held that “any fact that increases the mandatory minimum is an ‘element’ that

must be submitted to the jury.” 133 S. Ct. at 2155. The government concedes that Alleyne applies

in this case, that the plea colloquy was deficient and that defendant is entitled to relief. See

Government’s Response To Defendant’s Motion Under 28 U.S.C. § 2255 (Doc. #2286) at 25-26.

The government asks the Court to vacate defendant’s sentence and plea so that the parties can be

returned to their pre-plea positions. See id. at 27. Defendant proposes that the Court vacate his
Case 2:12-cr-20083-JWL          Document 2321         Filed 05/26/16       Page 2 of 3




sentence and re-sentence him based on the guideline range that would have applied absent the

statutory minimum. See Traverse Brief In Support Of 2255 Motion (Doc. #2290) at 2, 11, 17-18.

In light of the parties’ agreement that defendant is entitled to relief from his sentence under 28

U.S.C. § 2255, the Court VACATES his sentence.

       The parties filed their memoranda in this matter before the Court considered a similar issue

at the sentencing of co-defendant David Hale on March 9, 2016. The Court finds that further

briefing would be helpful on the issue of how the Alleyne error in this case impacts the validity of

defendant’s plea and the scope of further proceedings. On or before June 17, 2016, the parties are

ordered to show cause why (1) the Court should not accept defendant’s plea of guilty under 21

U.S.C. § 841(b)(1)(C) or (D),1 (2) the Court should not reject the plea agreement because it is based

on the mistaken premise that defendant would enter a plea of guilty to an offense under 21 U.S.C.

§ 841(b)(1)(A) with a statutory minimum term of 10 years in prison, (3) if the Court rejects the plea

agreement, it should not give defendant the opportunity to withdraw his plea of guilty to Count 1,2


       1
               Although defendant unsuccessfully attempted to plead to an offense under 21 U.S.C.
§ 841(b)(1)(A) with a statutory minimum term of ten years in prison, it appears that he did in fact
admit the essential elements of an offense under 21 U.S.C. § 841(b)(1)(C) or (D) with no statutory
minimum.
       2
               Here, the plea agreement is under Rule 11(c)(1)(A) because it includes a government
agreement to dismiss other counts. When the Court rejects such an agreement, it must on the record
and in open court:

       (A) inform the parties that the court rejects the plea agreement;

       (B) advise the defendant personally that the court is not required to follow the plea
       agreement and give the defendant an opportunity to withdraw the plea; and

       (C) advise the defendant personally that if the plea is not withdrawn, the court may
       dispose of the case less favorably toward the defendant than the plea agreement
                                                                                      (continued...)
                                                -2-
Case 2:12-cr-20083-JWL          Document 2321        Filed 05/26/16    Page 3 of 3




and (4) if the Court rejects the plea agreement, it should not allow the government to proceed on

Counts 79, 80, 81, 84, 96 and 97 of the Superseding Indictment (Doc. #462). On or before July 8,

2016, the parties may file response briefs.

       IT IS THEREFORE ORDERED that defendant’s Motion To Vacate, Set Aside, Or Correct

Sentence / Petition For Writ Of Habeas Corpus Pursuant To 28 U.S.C. § 2255 (Doc. #2095) filed

October 9, 2015 is SUSTAINED. The Court hereby vacates defendant’s sentence. On or before

June 17, 2016, the parties shall show cause in writing why (1) the Court should not accept

defendant’s plea of guilty under 21 U.S.C. § 841(b)(1)(C) or (D), (2) the Court should not reject

the plea agreement because it is based on the mistaken premise that defendant would enter a

plea of guilty to an offense under 21 U.S.C. § 841(b)(1)(A) with a statutory minimum term of

10 years in prison, (3) if the Court rejects the plea agreement, it should not give defendant the

opportunity to withdraw his plea of guilty to Count 1, and (4) if the Court rejects the plea

agreement, it should not allow the government to proceed on Counts 79, 80, 81, 84, 96 and 97

of the Superseding Indictment (Doc. #462). On or before July 8, 2016, the parties may file

response briefs.

       Dated this 26th day of May, 2016 at Kansas City, Kansas.

                                                      s/ Kathryn H. Vratil
                                                      KATHRYN H. VRATIL
                                                      United States District Judge




       2
        (...continued)
       contemplated.

Fed. R. Crim. P. 11(c)(5).

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